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AO 450 (GAS Rev 10/03) Judgment in a Civil Case

United States District Court
Southern District of Georgia

 

ROBERT LEE RAWLS

JUDGMENT IN A CIVIL CASE

Vv. CASE NUMBER: _ 5:20-cv-84

COFFEE COUNTY DETENTION CENTER;
and JOHN AND/OR JANE DOES,

Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
has rendered its verdict.

[/] Decision by Court. This action came before the Court. The issues have been considered and a decision has been rendered.
IT IS ORDERED AND ADJUDGED
that in accordance with the Order of this Court dated October 20, 2020, the Magistrate Judge's Report and
Recommendation is ADOPTED as the Order of the Court. Plaintiffs Complaint is DISMISSED without

prejudice, and Plaintiff is DENIED in forma pauperis status on appeal. This civil action stands closed.

Approved by:
HON. \Isk GODBEY WOOD, JUDGE

 

 

Oek be r 2 6, 220 John Triplett, Acting Clerk of Court
Date Clerk

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(By) Deputy Clerk

GAS Rev 10/1/03
